     Case: 1:23-cv-14575 Document #: 29 Filed: 11/07/23 Page 1 of 1 PageID #:1171




                                  UNITED STATES DISTRICT COURT
                                      Northern District of Illinois
                                      219 South Dearborn Street
                                        Chicago, Illinois 60604

Thomas G. Bruton                                                                    312-435-5670
Clerk



Date: November 7, 2023                                  Case Number: 23cv14575

Case Title: Emoji Company GmbH v. The               Judge: Charles P. Kocoras
            Individuals, Corporations, Limited
            Liability Companies, Partnerships,
            and Unincorporated
         DOCUMENT               Associations
                         NOT IMAGED      DUE TO REASON(S) CHECKED BELOW
            Identified on Schedule A Hereto
      Sealed or restricted document. (A court order is required to view a sealed or restricted
       document.)

         Too voluminous.

         Photographs


✔         Civil bond (A court order is required to view a financial document.)

         Criminal bond (A court order is required to view a financial document.)

         Miscellaneous (MC) case

         Other:


To view the document, you must first obtain the case file at the Clerk’s Office. The Clerk’s
Office is open from 8:30 a.m. to 4:30p.m. Monday through Friday except for legal
holidays. To obtain a copy call the Clerk’s Office Copy Desk at 312-435-5699.




                                                        Thomas G. Bruton, Clerk

                                                        By: /s/ Jenny E. Jauregui
                                                           Deputy Clerk




Rev. 11/29/2016
